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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                                              )
        v.                                    )      Criminal No. 04-128-13 (RMC)
                                              )
JONTE ROBINSON,                               )
                                              )
                                              )
               Defendant.                     )
                                              )


                                 MEMORANDUM OPINION

               On November 10, 2007, Mr. Robinson filed a motion for reconsideration of the

Court’s denial of the motion to withdraw his guilty plea [Dkt. # 903] (“Def.’s Mem.”). The United

States filed a timely opposition on November 16, 2007 [Dkt. # 904]. For the reasons stated below,

the Court will deny Mr. Robinson’s motion.

               In asking the Court to reconsider, Defendant Robinson now claims that the last

minute plea discussions between the Defendant and his former counsel might have led to a

misunderstanding. See Def.’s Mem. at 1-2 (suggesting former counsel was “heavy handed” during

“hurried” cell block discussions; such discussions left Mr. Robinson “without the full understanding

of the agreement necessary for true voluntariness”). The motion is vague, speculative, and never

articulates the details of the alleged misunderstanding. Mr. Robinson argues that an evidentiary

hearing is warranted because the record is unclear as to what precipitated the Defendant’s plea. Id.

at 2.

               The Court is not required to inquire into what precipitated Defendant’s plea. The law
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requires only that the Defendant express an intent to enter a guilty plea and that he do so voluntarily

and with an understanding of the consequences of such a plea. See Hill v. Lockhart, 474 U.S. 52,

56 (1985); United States v. Curry, 494 F.3d 1124, 1131 (D.C. Cir. 2007) (court not required to hold

an evidentiary hearing on motions to withdraw pleas when material facts are not in dispute). It is

not enough for Mr. Robinson to say simply that former counsel was “heavy handed” during cell

block discussions. See Fields v. Gibson, 277 F.3d 1203, 1214 (10th Cir. 2002) (noting “[a]dvice –

even strong urging by counsel does not invalidate a guilty plea”) (internal citations omitted).

               The D.C. Circuit is “extremely reluctant” to reverse a district court’s denial of a

motion to withdraw a plea where the defendant failed to show error under Federal Rule of Criminal

Procedure 11. United States v. Cray, 47 F.3d 1203, 1208 (D.C. Cir. 1995). “[A] defendant who fails

to show some error under Rule 11 has to shoulder an extremely heavy burden if he is ultimately to

prevail.” Id. (emphasis added). This Court has already determined that the plea colloquy complied

with the Rules. See Memorandum Opinion [Dkt. # 841] at 8. The Court queried Mr. Robinson at

the time of his plea to confirm that it was knowing and intelligently rendered. After considering Mr.

Robinson’s answers, this Court found that his plea was knowing and voluntary. Transcript of Plea

Proceedings, January 11, 2007 (“Tr.”) at 32-33. The Court questioned Mr. Robinson regarding his

level of understanding of the plea agreement, see Tr. at 27-34, and confirmed that he was satisfied

with the representation provided by both of his defense attorneys, see Tr. at 27. Mr. Robinson’s

testimony under oath flatly contradicts the claims in his recent motion.

               For the reasons stated above, the Court will deny Mr. Robinson’s motion. This Court

need not conduct an evidentiary hearing and Mr. Robinson has failed to show that there is a “fair and

just reason” for withdrawing his plea. Fed. R. Crim. P. 11(d)(2)(B); United States v. Horne, 987


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F.2d 883, 837 (D.C. Cir. 1993). A memorializing order accompanies this Memorandum Opinion.


Date: November 21, 2007                  ______________/s/___________________________
                                         ROSEMARY M. COLLYER
                                         United States District Judge




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